CaS€ 1-19-40076-0€0 DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

 

United Si‘aies Bankmptcy Court for the:

EASTERN D|STR|CT OF NEW YORK. BROOKLYN DlVlSlON

 

 

 

Case number(irlmown) Chapter 11
> El Checl< if this an amended
iiian
Cfficial Form 201
Voluntary Petition for Non-lndiviciuais Filing for Banl<rup'icy mo

 

if more space ls needed, attach a separate sheet.to this form. On the top of any additional pages, write the debtor's' name and case number (lf known). For
more information, a separate document, lnstructions for Bankruptcy Forms for Non-Individuals, ls available

1. Debtor's name ` Monroe Bus Corp.

 

2. d Al! other names debtor
used in the last 8 years

include any assumed
names. trade names and
doing business as names

Monroe an Corporation

 

3. Debtor's federal Emplqyer
identification Number 05~1 528433

 

 

 

 

 

 

 

(ElN)
4. Debtor's address Principal place of business Malling address, if different froin principal place of
business
'60 Nostrancl Ave
Brooklyn, NY 11205-1624 . ~
Number. Sireei. City, Staie & ZlP Code P.O. Bo)<, Number. Slreei. City, Siate & ZlP Code
Kings ‘ 4 ,~ Location of principal assets, if different from principal
Counly place of business
. , ~‘ Number, Slreet. City. Siate & ZlP Code
"1
5. Debtor's website (URL)
6' TYP° °" d°b*°' corporation (inoiuding umiiod Leaoimy company (nnc) and Limiied Liaomty Panoersnip (LLP»
U Parlnership (exeluding LLP)
l:l other. Specify.

 

 

Ofiicial Form 201 Voluntary Pefition for don-individuals Fillng for Banlrmptcy page 1

CaS€ 1-19-40076-0€0 DOC 1 Filed 01/07/19 Entei’ed 01/07/19 16219:05

Debf°r Nlonroe Bus Corp.
Name

7. Describe debtor‘s business

Case number (ifknown)

 

A. Check one:

L_.t Heaith Care Business (as defined in 11 U.S.C. § 101(27A))
U SingleAsset Reai Estate (as defined in 11 U.S,C. § 101(51B))
m Railroad (as defined in 11 U.S.C. § 101(44))

Ei Stcckbroker(as defined in 11 U.S.C. § 101(53A))

ij Commodity eroi<er res defined in 11 U.s.c. § 101 (6»

[] Ciearing Bank (as defined in 11 U.S.C. § 781 (3))

§ None of the above

B Check all that apply
ill Tax exempt entity res described rn 25 u s c. §501)
i:l investment company. including hedge fund or pooled investment vehicle (as def ned rn 15 U S. C. §SOa 3)

U investment advisor (as defined` in 15 U.S.C. §80b-2(a)(11))

C. NAiCS (Nonh American industry Ciassitication &,'stem) 4-digit code that best describes debtor.
See httg:I/wrnm.uscouris.gov/fcur-diglt-national-associatlon'naics-codas.

 

48541 0
8. Under which chapter cf the Check one.'
Bankruptcy Code is the
debtor filing? m Chapter 7
l:] Chapter 9

Chapter 11. Check all that apply:

El De_btor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or aftiliates) are
less than $2 566 050(amount subject to adjustment on 4/01/19 and every 3 years after that).

ij The debtor rs a small business debtor as def ned in 11 U.S.C. § 101(£>_10). if the debtor' rs a small
t business debtor. attach the most recent balance sheet, statement cf operations cash-flow statement
and federal inccme~tax return or if all cf these documents do not exist, follow the procedure in 11
U.S.C. § 1116(1)(8).

A plan is being liled with this petition
Acceptances of the plan were solicited prepetition from one or more classes of creditors in
accordance with 11 U.S.C. § 1126(b).

[] ` The debtor rs required to tile periodic reports (for example 10i< and 1GQ) with the Secun`ties and
Exchange Commission according to § 13 or 15(d) ci the Secunties Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-/ndivlduals Fiing for Bankruplcy under Chapter 11 (Ofi`rcial
Form 201A) with this form.

l:i The debtor is a shell company as defined in the Securities Exchange Act 011934 Ruie 12b-2.

i,,,

fill

l:i Chapter 12

 

9. Were prior bankruptcy
cases filed by or against the

 

 

 

 

 

 

 

debtor within the last 8 l:l Yes,
years?
if more than 2 cases. attach a _ _ ,
separate list. D'Sf"¢f Wh€n Case number
District When Case number
10. Are any bankruptcy cases NO
pending or being flied by a
business partner or an I:i Yes.
affiliate cf the debtor?
l.ist ali cases li more than 1, ` _
attach a separate list Debt°r ' R@|a"°n$hlp
District When Case number. ii known
Ofncial Form 201 Voluntary Petition for Non~lndividuals Flling for Bankruptcy page 2

CaS€ 1-19-40076-€€€ DOC 1 Filed 01/07/19 Entei’ed 01/07/19 16219:05

DeblGl' Monroe Bus Corp_ Ca$e number (ifkrlown)

 

Name

11. Why is the case filed in Check all that apply:

this district?
§ Debtor has had its domicile, principal place of business or principal assets in this district for 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other district
l:l A bankruptcy case concerning debtor's aft'lllate, general partner, or partnership is pending in this district

 

12. Does the debtor own or g No
have possession of any
real property or personal l:l Yes_
property that needs
immediate attention?

Answar below for each property that needs immediate attention Attach additional sheets if needed

Why does the property need immediate attention? (Check at that apply.)
[.`] lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or saiety.
What is the hazard?

 

El lt needs to be physically secured or protected from the weather.

l:l lt includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example
livestock .seasonal goods meat dairy produce. or securities-related assets or other options).

l'_'J Otrler

 

Where is the properl:y?

 

` Nomber. street cliy, stale a zlP code
ls the property insured?

 

 

l:l No

[l Yes_ insurance agency
Contact name
Phone

 

 

tatistical and administrative information

 

1 3. Debtor“s estimation of . Check one: `

available funds
W Funds will be available for distribution to unsecured creditors

l:l After any administrative expenses are paid, no funds will be available to unsecured creditors

 

14. estimated number or g 149 ` ill 1.000-5,000 El 25.001-50,000
°'ed‘t°ls g 50_99 El soot-io.ooo ll] so.ooi-loo,ooo
g 100-199 , lIl 10.001*25.000 l`_'l Morethemoo.ooo
f ` iii zooeoo

 

l:.l $500.000,001 - $1 billion

l:l $1.000.000`001 - $10 billion
l:l $10.000,000.001 ~ $50 billion
l:l More than $50 billion

 

15. Estimated Assets [| $O _ 350‘000
El $50.001 ' $100,000
iii sloo,ool - $500,000

ill $500.001¢ s1 million

=’~'““ $1.000.001 ~ $10 million

l:l $10,000,001 ~ $50 million
l:l $50.000,001 - $100 million
[] $‘lO0.000,0U‘l - $500 million

 

16. Estlmated liabilities ,

ill so - $50,000

iii $50,001-$100.000
$100,001 ~ssoo.ooo
[J scoo,ooi - st million

ill sl,ooo.ooi - 310 million

Cl $10,000.001 - 350 million
iii sso,ooo,ool - $100 million
l:i $100.000,001 - 3500 million

iii $500.000,001 - $1 billion
ill si.ooo.ooo.ool - 310 billion
El slo.ooo,ooo.oot - $50 billion

El lvlore than $50 billion

 

thcial Forrn 201

Voluntary petition for Non-lndividuals Filing for Bankruptcy

page 3

CaS€ 1-19-40076-0€0 DOC 1 Filed 01/07/19 Entel’ed 01/07/19 16219:05

Debt°r Monroe Bus Corp.

Name

 

Case number (ifknowrl)

 

Request for Relief, Declaration, and Signatures t ‘,,

WARN|NG - Banl<ruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500.000 or imprisonment
for up to 20 years, or both. 18 U.S.C. §§ 152. 1341, 1519, and 3571.

1\7. Declaration and signature

of authorized
representative of debtor

X

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition
l have been authorized lo tile this petition on behalf of the debtor.
l have examined the information in this petition and have a reasonable belief that the information is tri.led and correct

l declare under penalty of perjury that the foregoing is true and correct

Executedon Janua[y 7, 2019 l

  

 

 

MM l DD / YYYY _ (
t (”'"'_, ,
y 1 Herman Freund
Slgnature of authorized representative of debtor Printed name

Tlfle President

 

18. Signature of attorney

Oihcial Form 201

X

  

oate January 7, 2019
MM t DD / YYYY

 

 

Signa e omey for debtor

Kevin J. Nash
Printed name

Goldberg Weprin Finkel Goldstein LLP
Firm name t y

' 1501.Broadway 22nd Floor

New York, NY 10036
Number, Street. City. State & ZlP Code.

Contact phone (212) 221~5700 Email address kna$h@gwfglaw.com

"Kevln .i. wash

Bar number and State

Voiuntary Petition for lion-individuals Filirlg for Bankruptcy page 4

CaS€ 1-19-40076-0€0 DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

UNITED sTATEs BANKRUP`TCY count
EASTERN Dis'rarcr or NEW YoRK

 

ln re: Chapter ll

Monroe Bus Corp. a/k/a Monroe Bus Corporation Case No.

Debtor.
x

 

DECLARATIGN PURSUANT To LocAL BANKRUPTCY RULE 1007~2'

Hennan Freund declares the following under penalties of perjury pursuant to 28 U.S.C.

§1746:

l am the president and sole shareholder of Monroe Bus Coip. a/k/a Monroe Bus
Corporation (the “Debtor”), and as such, l am fully familiar with the facts and circumstances set
forth herein: Irespectfully submit this Declaration in support of the Deb`tor’s Chapter ll tiling,
to provide pertinent information regarding the circumstances prompting the bankruptcy case and
the Debtor’s strategies for reorganization l

` Salient Events Leading up~_to the Chapter 11 Filing

l. The Debtor is a long established bus company catering to the needs of the
Orthodox connnunity. 'l`he Debtor maintains its offices and bus yard at.60 Nostrand Avenue in
Brooklyn (the “Nostrand Property”), and provides comrnute_r transportation With‘daily Scheduled
routes for over 300,000 passengers annually, as well as charter service for Yeshiva college
students Additionally, a non-debtor aftiliate, Nostrand Repairs, also operates at the Nostrand
Property and provides maintenance, inspection and repairs for approximately 200 school buses,

utilized in the Williamsburg community The Nostrand Property Was specifically built to meet

DOT regulations

CaS€ 1-19-40076-€€€ DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

2. The Debtor employs approximately 50 full»time and pait~time eniployees,
consisting of drivers, repairmen and office personnel

3. Historically, the Debtor enjoyed profitable operations, and its need for _Chapter ll
relief derives from reactivation of eminent domain proceedings involving the City of New York
(the “City”) to oust the Debtor from possession and occupancy of its business premises The
City acquired the'Nostrand Propeity from the Debtor in 2004 for development of a sanitation
garage ,facility. l

4. The eminent domain proceeding Was first filed by the City in 2003 pursuant to a
condemnation action entitled “In the ]l/fatter ofthe Application of the City ofNe;v York, relative
to acquiring title for the Sanitaiz`on Gamge, Brooklyn Dz`str'i`cts 3 and 3A”, Index No.
37905/2003: in connection With the eminent domain proceeding, an affiliate of the Debtor (60
Nostrand LLC) received a niulti-million dollar payment for the land as fee owner, and the Debtor
became entitled to remain in possession of the Nostrand Property until at least Januaiy l, 2015 at
a monthly rent of $20;600. l

5 . The City’s development project stalled after 2015, While the Debtor continued to
remain in occupancy of the Nostrand Property. Accordingly, the City’s right to possession
exists, but laid dormant for several years until December 31, 2017 .

6. Last summer, the City moved against the Debtor to obtain immediate possession
of the Nostrand' Propeity, by serving an Order to Sliow Cause seeking a Writ of Assistance.
Although the Debtor Opposed the application, an Order was ultimately entered on October 17,

2018 by the Supreme Couit, Kings County, scheduling an eviction of the Debtor on January l,

2019.

CaS€ 1-19-40076-€€€ DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

7. Following this adverse ruling, the Debtor has appealed to the Appellate Division,
Second Department. A TRO was provisionally granted by the Supreme Couit, Kings County,
subject to a payment of $247,000 by January 8, 2019, representing past due rent.

8. With a pending eviction, the Debtor has witnessed a significant reduction in
business volume over the last six months, and has been forced to curtail service, given its
uncertain future Accordingly, the Debtor lacks the resources to establish a bond in the event one
is required as part of the stay pending appeal.

9. ln the meanwhile, it has been reported that the local community is, or will be,
challenging the City’s intended development of the site as a sanitation related garage Upon
information and belief, the City will likely be required to obtain new environmental studies,
which could delay the project for a significant period of time.

lO. Accordingly, the urgency for the City to assume immediate possession of the
Nostrand Propeity is waning. The Debtor has elected to file this Chapter ll petition to prevent
an immediate dismantling of its on-going operations, while the Debtor weighs its various options
and alternatives

ll. Optimally, the Debtor hopes to negotiate a further arrangement with the City to
remain in possession of the Nostrand Propeity for additional time pending a determination of the
appeal or further environmental review. The Debtor is prepared to resume making rent payments
to the City during the Chapter ll case.

12. Alternatively, the Debtor needs additional time to attempt to transition its
business, although this will be difficult given the fact that the Nostrand Property is fully licensed
by DOT, and ideally situated in the Williamsburg community As a final option, the Debtor may

need to liquidate its business in an orderly fashion under the auspices of Chapter ll.

CaS€ 1-19-40076-€€€ DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

13. While all of these events continue to unfold, it is vitally important that the status
quo be maintained, so that there is no interruption in Services, and the going concern value of the

Debtor’s business can be maintained

Local Rule 1007-2 Disclosures

l4. Pursuant to Local Rule lOO7-2(a)(2) and (3), no committees were formed prior to
the filing of the Petition.

15. Pursuant to Local Rule 1007-2(a)(4), a list of the names and address of the
Debtor’s creditors is attached hereto. The Debtor intends to file a full set of schedules and
statements within the next fifteen (15) days as required by the Bankruptcy Rules.

l6. Pursuant to Local Rule 1007-2(a)(5), the Debtor’s potential secured creditors are

listed below, based upon public UCC filings:

 

Name Amount of Claim
All Points Capital Corp. 330 ~ lien satisfied
Signature Financial LLC $0 - lien satisfied
Mendel Schwimmer Contingent guaranty
JP Morgan Chase Bank $0 ~ lien satisfied

 

 

 

 

 

 

 

 

17. Pursuant to Local Rule 1007-2(a)(6), a balance sheet containing a summary of the

Debtor’s assets and liabilities is annexed hereto.

18. Pursuant to Local Rule 1007-2(a)(7), l, Herman Freund, am listed as the Debtor’s
sole equity interest holder.

l9. Pursuant to Local Rule 1007~2(a)(8), none of the Debtor’s assets are in the
possession or custody of any custodian, public officer, mortgagee, pledge, assignee of rents or
secured creditor.

20. Pursuant to Local Rule 1007-2(a)(9), the Debtor does not own any real estate, and

its possessory rights are disputed

CaS€ 1-19-40076-€€€ DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

21. Pursuant to Local Rule 1007»2(a)(10), the Debtor’s books and records are
maintained at the Nostrand'Property or by the Debtor’s accountants7 Solomon Hirsch, CP;-`l, PC,
\ of Monsey, NY.

22. Pursuant to Local Rule 1007-2(a)(11), a schedule of pending lawsuits is attached

23. The Debtor maintains a weekly payroll of approximately $31,700 covering all of
the Debtor’s full-time and part-time employees (including my sons), as set forth in the attached
schedule l receive no salary or compensation, except supplemental insurance coverage

Dated: Brooklyn, NY
Januai'y 7, 2019 %M M

Herman Fieund

Case 1-19-40076-cec

Assets
Current Assets:

Fixed Asstes:

Other Assets:

Liabilities

Current Liabilities:

Equity:

DOC 1 Filed 01/07/19

Monroe Bus Corporation
Ba|ance Sheet
as of December 26, 2018
Management Prepared

Cash

|nventory

Accounts Receivable

Fuel Tax Retunds Receivable
Advances

Prepatd Expenses

Total Current Assets
Property & Equipment
Accumulated Depreciation
Net Fixed Assets
Security Deposits

Due From Affiliates

Total Other Assets

Tota| Assets

Accounts Payab|e
Capital Oue » Visa
Accrued Expenses
Totat Current Liabilities
Total Liabi|ities
Retained Earnings
Capital Stock

Total Equity

Total Liabilities & Equity

Ent€red 01/07/19 16219:05

84,455
32,716
21,136
65,625
39,832
28,521
272,285
6,037`278
~4,890,891
1,146,386
11,200
375,522

336,722

1 z805,393

296,540
49,621
64,055

410,216

410,216

1,385,177
10,000

1,395,177

12805,393

 

CaS€ 1-19-40076-0€0 DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

ln re: Chapter ll
Monroe Bus Corp. a/k/a Monroe Bus Corporation, Case No.
Debtor. \
x
EOUITY INTERES'I` HOLDERS
Hennan Freund _ 100%

Dated: Brooklyn,New York .

 

January 7, 2019
MONROE BUS CORP.
By vila/max w
" Name: Herman Freund

Title: President

CaS€ 1-19-40076-€€€ DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

UNITED sTATEs BANKRUPTCY count 4 v q f
EASTERN DisrRiCr or uaw Yoiu< ‘ , t

 

 

 

x
In re: Chapter l 1
Monroe Bus Corp. a/k/a Monroe Bus Corporation, , Case No.
Debtor.
x
LIS'I` OF PENDING LAWSUITS
l. ln the Matter of the Application of the City of New York, relative to acquiring title for
the Sanitation Garage, Brooklyn Districts 3 and 3A k
Supreme Court of the State ofNew York, -Kings County
lndex No. 37905/2003
Attorney for Plaintiff: Stephanie M. Fitos, Esq.
New York City Corporation Counsel
100 Church Street
New York, NY 10007-2601
Attorney for Defendant§ Bruce Levinson, Esq.
‘ 805 rand Av¢nue, 12‘*‘ rioor_
New York, New York 110022
Scope: Eimiient Domain
2. Simon l\/littleman v. Monroe Bus Corp. et al
Supreme Court of the State of New York, Kings County
Index l\Io. 1614/2016
Attorney for Plaintiij°: Alan M. Sliapey, Esq.
Lipsig, Shapey, Manus & Moverman, P.C.
40 F tilton Street
New York, NY 10038
Attorney for Defendant: Lewis Johs Avallone Aviles
One CA Plaza - Ste# 225
lslandia, NY 11749
Scope: Personal lnj~ury
Dated: Brooklyn, New Yoi_'k:

January 7, 2019 MONROE BUS CORP. `

/ `
By: /)\LC</Mocc, j».QA_/é€
l/\lame: Herman Freund

Title: President

 

19205

DOC 1 Filed 01/07/19 Entered 01/07/19 16

Case 1-19-40076-cec

 

 

 

 

 

 

 

 

 

.~.mx Em§_Emw Amx._.<vm_ l l l minn memzozm§=~< .~mxm§m <<mmmw ._.m_x.>§oci l ._.lmxlmm~m
moment <<E.:o.&:m me 93 mon§ wmo:£< mBu~o<mo §mm~ol.wx wm.mw>.u» n.mw._ nw
moowm_ mmn§=< m_.=_u_o<m` §mm,o.,,_.mx Nw.mw».u» n.mwi_.§
§oa~om~m §mm»mlwx Nw.mw».§ »~m.wm
§m&om~m mBn_o<m~ §m,£ml,mx mw.mw».w» »Nm.m~
mmam_\m_ <sc._so§:m _<_mw»ml.wx mm.mu».w» w.mmm.on
422 .~.SP.E
moam§_ c:m=.o_o<_.:¢:» who mmam_.m_ C:m§c_o<_sm£ §mw»ml.mx mw.mwa.ws 34 .No
..Ss. §§
z< m~m»e ¢<x:=o_&:m .Fx z< w»m»o <§::o_a_:m §mm.ol.wx Nw.m§,ws \_.wmm.m.\.
z< ronm_ <s¢.:o§:m §mm»ml,mx mhwm.ms~ nwm.mm
z< _<_m:ouo_:m: OoBBSm_‘ me §mm~m¥mx mm.wms:u» 393
.#.§ SE.S

z< mSS c:m§u_c<~:m:» .Fx z< C:o§u_o<_.=m:» va_o<Q §nm$l`mx Nm_ww+ws wmm.mm owe ¢\e
:_.os_ ~mm.$
»._.o»m_ ._.mxmm Q.~NQ.NN
Omm: >sm€mmm marx zm§m >nooc:nz=§uma , umwn~€zo: >Boc.:
_um<_.o= ogon ._o.wo+~q
932 Oovom_» j_www.mm
>mm:o< O:mo_»m § w.wm
qu mmE_oo ,_._.m:m~m_` @.NNQ.NN
m_QZ>._.CIm m>ZX ._mowom>.: w ».*.o~m_ u~_om\_ .3
._.o~m_ son sums 8 among ww.om._.$

§ ease 1»`~2~¢3.¢:§~§ §§ a N _<_Oz_»Om mcm 00_~1 _um<~o= mc:=:m_.< mccann
re ear ¢:§NE w §§ a 1 t

OoBem:<iQ<_mmo:A_/`_DD,QS

pman 4 03

 

19205

DOC 1 Filed 01/07/19 Entered 01/07/19 16

Case 1-19-40076-cec

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4,<_3@ QE.SB mw<_.e=l 2535 de _um$_ newman .3 Om$_ , l <em.,,._,o_ow$

mm_\:m:mm l IcE.m l >Boc:» Ien_\w >Bo::» zoc..m >Zoe:n :oc_`.a, >Bo::~
O._, - O._. _u>< ~K.mm ,,_o.~m.§ ~w.mm n.mm+@» umwa fmmu..@a .`.N.mu \__mmv.w.»
mm - mm® n>< nmm.mw N.wmm,mo wwm.nm m.mmw.mm wmm.$ m.mmw.mm wwm.nm m_mmw.mm
m> - w>r>w< 900 wm_smm.oo o.oo wm,mm.~.mo o.oo ww.mmq.mo o.oo mw.qu.mo
§§ mm~:=.mm § adm ~m.m.§.u> www.wm 2 _»wm.co wwm.m@ 3 .Nwm.oo wame 3 _Nwm.eo
Umncn¢o:m >Bo=:~ >Boc:» >Bo==» >Boc:»
mm®¢\c , O>mz.m mm§m~ o,oo geo so,oo so.oo
O._ . n:=a mcnuoz w._ u.mm »Nq.mm »N.`..mm .»Nv.wm
rz . rO>z ccc 393 393 393
_.z~ - rO>z nw nmo.oo woods woo.oo woo.oo
._.oB_ Uma:nzo:m wmw.mw 353 ma.`.wm w\_~.mm
mBEo<mm ._.mx ._,mxm€¢ seamen >Bo=Z assess semen >Boc:» HBBZQ éwmmw >Bo==» ,..nxmc_e §mmmm >=5=2
won§ mmo. mm.mu».@» .__mn:.§ 3 ,Nwm.oo w..`.wm.m» ma _mwm.oo w.~wm.m» 2 .~wc,.oo Q..Em.m»
Z_m&nm$ Nw.mw+m» ANm.Nm m\_.mum.oo mmm.ow md .mwm,oo mwm.om m\_.mmm.oo mmm.om
moao_.w_ wo.mw>rw» w,mmm.o“ ma .Num.oo m_mwm,m\_ mn .Nwm.oo m.mww,m.; mn .Nwm.oo m.mwm.mn
z< w»m~m N@,mw».wa n.mmm.mw mi_.wwm.oo N.mmm.mm mn.mwm.oo w.mmm.mm mn_mwm.oo m_mmm.ww
z< room_ m.awm.wa nuw.mm §.»mw.mo wow.m» \I.amw.mo uow.m» ._A.>mm.@o wow.m»
z< umwa rmm<m mm.mw».m» umwa mn.mwm.oo wm.ow mfmwm.oo ww.oo mn.mwm.oo @w.om
Z< memc .< No.mua.w» m».mm mn_mmm.oo wo.o\~. mfmwm.oo wo.o~ m#mwm.oo mo.o.\
ao$_ m=.n_o<em ._.»xem Now~.$ \_.r¢»m.~» aa.a~m.- Z.Sm.~»
23 vm< >Boz:» >Soc:» >Zo:§ >Boc:»
U=mn» Omnom: O:moz:n j.mww.wm me.~mo,mw N».vmo.mw N».qmo.mw
zm» O:mox >Boc:~ S.wo»,w< m._.§n.wm Nn.._£.w@ ~n.n£.ww
...o$_ zm» vw< MN...wm.Nw >m.mwm.mm hm.wwm.w~ vm.wwm.wm
m§c_o<m~ ._.wx ._.wch_e immme >Bo_._=~ wam§m seamen 25er ._.wxmv_e imm¢w >39_:~ ._.Ba_§m seven >Zo::~
mon§ mmn. mm mcmahon \__m§.§ m,_.mmm.oo w.qmm.mw mn.mwm.oo w..`.wm.mw mn.mwm.oo w.wmm.mw
_<_m&nm“m mm m@.mw».me~ »Nm.Nm mn.mwm.oo mm.~.mw mf~wm.oo mm.~.mu mfmwm.oo mmu.mm
_nC._.> mm mw.mwa.w» ij .No mm.wum.oo wwn.§ mm.mwm.oo uw,_.§ wm.mwm.oo mmn.»\_
z< c:oBv_o<BmZ mm.mw».w¢ Nmm.mm mn.~wm.oo mmd.mo mfwwm.oo mmn.mo mfmmm.oo mms.mo
z< _<I.> ~m.mma.u» noo.§ m;.mwm.oo wom.m» mn.mmm.oo mom.w» mf~wm.oo mom.w~»
._.o$_ mZu_o<m_. .Fx»m N..`.mm.mm m_dm.§ m.dm.§ m.dm.“:
pw<<o= ocean

._\o$_ mBn_o<mmm am

lHo§_ z_m_o so

Ho~w_ mmBm_m w

x€~..“._ pm<_.o= O:mnrw bn

..\o~m_ m3 pm:< O:moxm n

Ho»m_ ¢...m:w*o..m o
§ ease 1 2352 m.o:€`~¢$ §me a m z_Dszm mcm OOI_... .
em< can 33 233 mean a ._.O»m_ O:QQX Tmm:m»m_. tilt iti,

Oo§cm:<-§< noi_<_o_..~-o:

emma n 9a \_

   

 

CaS€ 1-19-40076-€€€ DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

in re: x Chapter 11
Monroe Bus _Corp. a/k/a Monroe Bus Corporation, Case No.'.
Debtor.
x
CORPORATE RESOLUTION

 

At a special meeting of all of the Shareholders and'Directors of Monroe Bus Corp.
a/l</a Monroe Business Corporation (the “Coinpany”) held on January"/,` 2019, and after motion

duly made and cariied, it was:

RESOLVED, that Herman Freund, as President of the Company,
is authorized to execute a bankruptcy petition under Cliapter 11 of
the United States Bankruptcy Code on behalf of the Cornpany and
to cause the filing thereof in the United States Bankruptcy Court
for the Eastern District of New York; and it is further

RESOLVED, that the Company is authorized to retain the law
firm of GOLDBERG WEPRIN FlNKEL- GOLDSTEIN LLP, as
bankruptcy counsel, for the purposes of prosecuting the Chapter ll
case. _ _ `

Dated: Brooklyn, New Yorl<
lanuary 7, 2019

 

MONROE BUS CORP.
By: %/»ch~.~ fw JQ
Name: Hennan Freund

Title: President

CaS€ 1-19-40076-€€€ DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

UNITED STATES BANKRUPTCY COURT
EASTERN Dl STRICT OF NEW YORK

 

ln re: Chapter 11

Monroe Bus Corp. a/k/a Monroe Bus Corporation, Case No.

Debtor.

 

RULE 7.1 CORPORATE OWNERSHIP STATEMENT

Pursuant to Federal Rule of CivilProcedure 7.1, Monroe Bus Corp. hereby certifies that

it is a private, non-governmental party, and has no corporate parent, affiliates and/or subsidiaries

which are publicly held.

Dated: Brooklyn, New York v
January 7, 2019

MONROE BUS CORP.

dean A…!

Name: Herman Freund
Title: Pi'esident

CaS€ 1-19-40076-€€€ DOC 1 Filed 01/07/19 Erltel’ed 01/07/19 16219:05

   

 

 

w , _.,§`tlllfa .. ..

De or name Monroe Bus orp.

Unlted States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW [J Check lf.thls is an
YORK, BROOKLYN DlVlSlON

Case number (lf known): amended filing

 

 

Offlclal Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Clalms and

Are Not lnsiders _ 12115

A list of creditors holding the 20 largest unsecured claims must be filed ln a Chapter_11 or Chapter 9 case. include claims which
the debtor disputes. Do not include claims by any person or entity who ls an lnsider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims. ,

 

Name of creditor and Name, telephone number Nature of claim indicate if claim Amount of claim
complete mailing address, and email address of t (for example, trade debls. ls contingent, lf the claim is fully unsecured fill in only unsecured claim amount |f
including zip code . ` creditor contact . bank loans, professional unliquidated or claim is partially secured fill in total claim amount and deduction for
v . . » ; 4 . '-' 4 f ’: . ‘ ' '- ' ` ~ ' ' ' services and government disputed » value of collateral or setoff lo calculate unsecured clalm.
Conh'ads) . ` _ 4 ‘ Total claim, if Deduction for value Unsecurad claim
partially secured of collateral or setoff
$2,850.00

 

 

Blusteln Shapiro,
Rich & Barone LLP
10 Matthews St
Goshen, NY

1 0924-1959

Capital One USA $49,621.00
PO Box 6492 . '

Carol Stream, lL
60197-6492
Emplre BCBS x $841.00
PO ch 1 1792
Newark, NJ
071 01 ~4792
lnternal Revenue For notice q Un|iquldated $0.00
Service purposes ` Disputed
_Centralized "

lnsolvency
operations
PO Box 7346 1 -
Phlladelphia, PA
191 01 -7346 `
MVP Health Care $17,210.00
lnc

PO Box 26864
New York, N\’
10087'~6864
New Report
1281 49th St
Brooklyn, NY
1 121 8-3055
NYC Dept. of $226,600.00
Finance

1 Centre St Fl 20
New York, NY

1 0007-1 602

 

 

 

 

 

,, l $578.00

 

 

 

 

 

 

 

 

 

 

Olficlal form 204 Cnepter 11 or Chapler 9 Cases: Llst of Creditors Who Have the 20 l.argest Unsecured claims page 1

Soflware Copyn’ghl (c) 2019 ClNGmup - www.cincampass.com

Case 1-19-40076-cec

Debf°r Monroe Bus Corp.

Name

DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

r

Case number kanown)

 

 

Name of creditor and
complete mailing address,
includingrzip code ‘

Nam_e, telephone number
and em_aii address of . _
creditor contact . '

Nat.ure of claim
(for example trade debts.

- bank ioans, professional

services and government

indicate if claim
ls contingentl

unilquidated, or
disputed _

Arnount of claim

ii the claim is fully unsecured, till in only unsecured claim amount ll
claim is partially secured, fill in total claim amount and deduction for
value of collateral or setoff to calculate unsecured claim.

 

Totai claim, if
partially secured

Deduclion for value
of collateral or setoff

Unsecured claim

 

NYS Dep’t of
Taxation
Bankruptcy/Special
Procedure

PO Box 5300
Albany, N¥

1 2205~0300

For notice
purposes

Unliquidated
Disputed

$0.00

 

Simon Mittleman
clo Alan M. Shapey,
Esq.

40 Fulton St Lipsig
Shapey Nlanus &
Mover

New York, NY
10038-1850

Tort claims

Unliquidated
Disputed

$0.00

 

Sprague

1 85 international Dr
»Portsmouth, NH
03801-6836

$'I 7,532.00

 

Yeshiah
Maintenance and
Repairlnc

51 Forest Rcl Ste
316-263

Monroe, NY
10950-2948

 

 

 

 

 

 

 

$30,930.00

 

Oflicial form 204

Chapter11 or Chapter 9 Cases: List of Creciitors Who Have tile 20 Largesl Unsecured claims

Snftware Copyright (c) 2019 ClNGroup - www.cincompass.com

page 2

 

© 2019 C|Ngroup 1.8`66.218.1003 - ClNcompass (www.cincnmpass.com)

CaS€ 1-19-40076-€€€ DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

` United States Bankruptcy`€ourt
Eastern District of New York, Brookiyn Division

IN RE: . Case No. __

Monroe Bus Corp. Chapter 11
Debtor(s)

VERIFICATION OF CREDITOR MATRIX
The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of creditors) is true and

correct to the best of their knowledge
O§Q(/VV\,Q,_`__ W£ F/.¢ S`i if

Debtor

Date: January 7, 2019

 

.loint Debtor

 

Attorney for Debtor

CaS€ 1-19-40076-€€€ DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

.;

All Points Capital Corp.
275 Broadhollow Rd
Melville, NY 11747-4808

Blustein Shapiro, Rich & Barone LLP
10 Matthews St
Goshen, NY 10924-1959

Capital One USA
PO Box 6492
Carol Stream, IL 60197~6492

Empire BCBS
PO Box 11792
Newark, NJ 07101~4792

l

Internal,Revenue Service
Centralized Insolvency Operations
PO Box 7346 4

Philadelphia, PA \19101-7346

JP Morqan Chase Bank, N.A.
Collateral Mgmt Small Business
PO Box 4660

Houston, TX 77210~4660

Mendel Schwimmer
9 Hayes Ct
Monroe, NY 10950-3807

CaS€ 1-19-40076-€€€ DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

MVP Health Care Inc
PO Box 26864
New York, NY 10087-6864

New Report
1281 49th St » .
Brooklyn, NY '11219~3055

NYC Dept. of Finance
1 Centre St Fl 20
New York, NY' 10007»1602

NYS Dep‘t of Taxation.
Bankruptcy/Spedial Procedure
PO BOX 5300

Albany, NY 12205~0300

Rita Dnmain, Esq. 1 »

New York City Corporation Counsel
100 Church St Rm 5~240

New York, NY 10007-2601

Signature Financial LLC
225 Broadhollow Rd Ste 132W
Melville, NY 11747-4809

Simon Mittleman

c/o Alan M. Shapey, Esq.

40 Fulton St Lipsiq Shapey Manus & Mover
New York, NY 1003841850

CaS€ 1-19-40076-€€€ DOC 1 Filed 01/07/19 Entered 01/07/19 16219:05

Sprague
185 International Dr
Portsmouth, NH 03801~6836

Stephanie M. Fitos, Esq.

New York City Corporation Counsel
100 Church St

New York, NY 10007~2601

Yeshiah Maintenance and Repair Inc
51 Forest Rd Ste 316~263 `
Monroe, NY 10950-2948

